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                          U N ITED STA TES D ISTR ICT C O U R T
                          SOUTH ER N DISTR ICT O F FLORIDA

                     CA SE NO .9:14-cv-80425-CO HN/SELTZER

    EVETT L.SIM M ONS,ESQUTRE,in                              FILED BY                         D.C.
    her capacity as G uardian ofthe Property
    ofDontrellStephens,and D ONTRELL
    STEPX N S,                                                       FEB - 3 2216
                                                                    sclt
                                                                       wEaEKsUMbI-(A)NM
                                                                                .    ITOR
                                                                                        c'rE
                Plaintiffs,                                         s.D.oFFtk.r/Lkué.
    VS.

    RIC BR AD SHA W ,in his capacity as
    SheriffofPalm B each County,Florida,
    and DEPU TY SFIERIFF A D A M S
    LIN ,individually,

                D efendants.
                                               /

                                       V ER D IC T

    Do you 5nd from apreponderance ofthe evidence:

          That A dam s Lin's intentional use of force against D ontrell Stephens w as
    excessive orunreasonable?

    A nsw er Y es orN o

    7f your answer to question 1 is $çNo,''this ends your deliberations,and your
    foreperson should sign and datethe lastpage ofthisverdictform .Ifyouransw erto
    question 1isyes,pleasegotothenextquestion.q
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          lfyour nnsw er is(sY es,''

    (a) W hatisthe totalamountofdamagesformedicalexpenses incurred in the
    pastand to be incurred in the future?

                        $       i /yç'c            pa
    (b) W hat is the total amount of damages for i11 health,physicalpain and
     suffering,disability,dissgurem ent,discom fort,and any such physicalharm that
     D ontrell Stephens has experienced and is reasonably certain to experience in the
     future?

                        $              o      A& & o
    (c) W hatis the totalamountofdamages for mental and emotionaldistress,
     im pairm ent ofreputation,personalhum iliation,and any related harm thatD ontrell
     Stephens has experienced and isreasonably certain to experience in the future?


                        $%
    TOTAL DAM AGES (add(a),(b),and(c));

                        $           2.:
                                      b            %         O O
    So Say W e A ll.
     l1        G -              &
   -Foreperson'ï Sign   re
    Date:       g -o .
                     - jy
